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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 STANDING ROCK SIOUX TRIBE;
 YANKTON SIOUX TRIBE; ROBERT
 FLYING HAWK; OGLALA SIOUX
 TRIBE,
                                     Plaintiffs,
 and
 CHEYENNE RIVER SIOUX TRIBE,
                                                      Case No. 1:16-cv-01534-JEB
                           Intervenor Plaintiff,      [Consolidated with Case
                                                      Nos. 1:16-cv-1796 and 1:17-cv-267]
            v.
 U.S. ARMY CORPS OF ENGINEERS,
                                    Defendant,
 and
 DAKOTA ACCESS, LLC,
                         Intervenor Defendant.

                              ______________________________

              INTERVENOR DEFENDANT DAKOTA ACCESS, LLC’S
          OPPOSITION TO OGLALA SIOUX TRIBE’S MOTION TO EXTEND
                       ______________________________


       Intervenor Defendant Dakota Access, LLC opposes Oglala Sioux Tribe’s motion to alter

the timeline for the parties to propose a schedule for post-remand proceedings. The U.S. Army

Corps of Engineers announced its post-remand decision on August 31, 2018. In the October 1,

2018 Joint Status Report, D.E. 364, Dakota Access expressed its belief that the deadline to propose

further scheduling in this case should be October 15. The Court instead granted the request of

Standing Rock Sioux Tribe and Cheyenne River Sioux Tribe, joined by the Corps, to have until

November 1.
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        Oglala Sioux Tribe now asks the Court to extend the deadline. Nothing prevents Oglala or

any other party from proposing deadlines for the further conduct of this case based on the assump-

tion that at least one plaintiff will decide to continue litigating this case. The inability of a plaintiff

to decide by now whether to continue litigating need not—and should not—hold up setting a

schedule that will bring this longstanding case to an efficient conclusion. Therefore, Dakota Ac-

cess proposes that the Court maintain the current deadline for proposing a schedule for the post-

remand phase of this case.




 Dated: October 30, 2018                                Respectfully submitted,


                                                         /s/ William S. Scherman
                                                        William S. Scherman
                                                        David Debold
                                                        GIBSON, DUNN & CRUTCHER LLP
                                                        1050 Connecticut Avenue, N.W.
                                                        Washington, D.C. 20036
                                                        (202) 955-8500
                                                        wscherman@gibsondunn.com

                                   Counsel for Dakota Access, LLC




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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of October, 2018, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.



                                                     /s/ William S. Scherman
                                                    William S. Scherman
                                                    GIBSON, DUNN & CRUTCHER LLP
                                                    1050 Connecticut Avenue, N.W.
                                                    Washington, D.C. 20036
                                                    (202) 955-8500
                                                    wscherman@gibsondunn.com

                                                    Counsel for Dakota Access, LLC
